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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                      AUGUSTA DIVISION



CRIMINAL CASE NO.                                DATE;

                                                 TIME; _                         io^oyv-
usA V.

                                                 COURTROOM DEPUTY: Lisa Widener
JUDGE:         Honorable J. Randal Hall

COURT REPORTER: Lisa Davenport                   INTERPRETER:


ATTORNEY(S)FOR THE GOVERNMENT:                   ATTORNEYCS)FOR THE DEFENDANT:



PROBATION OFFICER:                               DEFENDANT SENTENCED ON COUNT(S)-.

   Oo^Vn 6rc\M\

 ^ PSI reviewed in full                          Custody:          t'Tc                    months .
                                                  ete V ^3 VxCcS Crfe AO 3^^,
 fA Objections to factual basis
      Objections to Guideline Calculations       Supervised Release:                        years

 n\ Changes ordered                               ec< Qh
                                                  ^ Standard and Special Conditions of
                                                 Release to be explained by USPO and a written
 |s\ Factual Witness                             to be provided to defendant


    _ Statement by Counsel                       Probation

                                                 Fine $                -O
      Statement by Defendant
      Appeal rights of defendant<g^lain^waived   Restitution $_

                                                 AVAA Sp. Assessment $         \cO     €1:;^ C:^S

Facility requested/recommended:                  special Assessment $ \C£j
            C^'OXcS PO f€jCOP<sx-er^^\Jo Community Service:                          hours within
                                                    -      months of release


Defendant remanded                               Dismiss Count(s)

Voluntary surrender _                            Plea agreement accepted         ^

Departure from guidelines         K               Upward *— Downward
